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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                     EASTERN DIVISION

__________________________________________________________________________________

                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )
                                    )
VS.                                 )                CR. NO. 1:17-10082-STA
                                    )
EARL RAY PRITCHARD,                )
                                    )
            Defendant.              )
__________________________________________________________________________________

                            ORDER ON CHANGE OF PLEA
                              AND NOTICE OF SETTING
__________________________________________________________________________________



       This cause came to be heard on July 23, 2018, Assistant United States Attorney, Raney Irwin,
appearing for the Government and the defendant, Earl Ray Pritchard, appearing in person, and with
counsel, Daniel Taylor.

       With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and
entered a plea of guilty to Count 1 of the Indictment.

       A basis in fact having been established, the Court accepted the guilty plea.

       SENTENCING in this case is SET for TUESDAY, OCTOBER 23, 2018 at 10:00 A.M., before
Chief S. Thomas Anderson.

       Defendant is remanded to the custody of the United States Marshals.

       ENTERED this the 23rd day of July, 2018.


                                                   s/ S. Thomas Anderson
                                                   CHIEF JUDGE, U. S. DISTRICT COURT
